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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION


CHARLENE SMITH,

               Plaintiff,

vs.                                                                Case No.    16-1123
                                                                              ------

ENHANCED RECOVERY COMPANY, LLC,

                Defendant.


                                           COMPLAINT

        COMES NOW the Plaintiff, Charlene Smith, by counsel, and files this Complaint against

Enhanced Recovery Company, LLC, and alleges and avers as follows:

        1.      Plaintiff, Charlene Smith, is a resident of Lawrence County, Ohio and resides at

583 County Road 66, Proctorville, OH. Plaintiff allegedly owes a consumer debt to Enhanced

Recovery Company, LLC or its client, with the original account number believed to end with 6010.

The collection of said debt is the subject of this action.

       2.      Defendant Enhanced Recovery Company, LLC ("ERC") is a debt collection agency

conducting business in the state of Ohio, among other states. Its headquarters are located in

Jacksonville, Florida. It's agent for service of process is CT Corporation System, 1300 East Ninth

Street Cleveland, OH 44114.

        3.     Original jurisdiction is proper under 28 U.S. Code § 1331 as this Complaint raises

federal questions pursuant to the TCPA, 47 U.S.C. § 227 (the "TCPA").
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        4.      With few exceptions that include calls made for emergency purposes and calls made

with prior express consent, the TCPA makes it unlawful to make any call to a cellular telephone using

any automatic telephone dialing system or an artificial or prerecorded voice.

        5.     After the Plaintiff allegedly became in arrears upon the subject consumer account,

ERC began to engage in collection of such indebtedness by telephone and mail.

        6.     ERC consistently used an auto-dialing capable device and/or an artificial or

prerecorded voice message in making calls to the Plaintiff on her cellular telephone.

        7.     The Plaintiff retained attorney Ben Sheridan of Klein, Sheridan and Glazer to

represent Plaintiffs interest in connection with the consumer debt for which ERC contended the

Plaintiff became in arrears.

        8.     Thereafter, on August 4, 2015, the Plaintiff mailed a letter to the Defendant

advising the Defendant that she had retained an attorney, and further provided the Defendant with

the name, address, and telephone number of her attorney.

        9.     Plaintiff further expressly requested in her letter that the Defendant absolutely stop

calling her and that any future calls should be direct to her attorney. Plaintiff also specified the

numbers for which Defendant was advised to stop calling.

        10.    Plaintiff does not recall ever providing consent for ERC to call her cellular

telephone. However, to the extent such consent was implied or otherwise provided, the Plaintiff,

in the above described letter, unambiguously removed the Defendant's authorization to call her at

any number, including her cellular phone.

        11.    Thereafter, Defendant continued to utilize an automated dialing capable system to

cause telephone calls to be placed to the Plaintiff on her cellular telephone.




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        12.     The Defendant maintains records of each call placed to the Plaintiff by date, time

 called, duration of call, the identity of the Defendant's employee and notes or codes placed upon

such record by the Defendant's employees. Such records will reflect that the Defendant placed

numerous telephone calls to the Plaintiffs cellular telephone number after any consent to call was

· expressly revoked.

                                              COUNT I

                               COMMON LAW INVASION OF PRIVACY

        13.     The Plaintiff incorporates the previous paragraphs as if fully set forth herein.

        14.     The Plaintiff has an expectation of privacy to be free from harassing and annoying

 telephone calls on her personal cell phone and within the confines of her home.

        15.     The acts of the Defendant in repeatedly placing unwanted telephone calls to the

 Plaintiff invaded and injured her right of privacy.

        16.     As a result of the Defendant's above described actions, which were done willfully,

 wantonly, recklessly and/or with complete indifference to its obligations under law, the Plaintiff

 has been annoyed, inconvenienced, harassed, bothered, upset, angered, harangued and otherwise

 was caused emotional distress.

                                              COUNT II

                  VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

        17.     The Plaintiffs incorporates the previous paragraphs as if fully set forth herein.

        18.     The Defendant used a predictive or other automated dialer system to call the

Plaintiff on her cell phone.

        19.     The predictive or automated dialer system resulted in numerous calls being placed

by the Defendant to the Plaintiffs cell phone.



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                 20.    The Plaintiffs removed any consent that may have existed to call the Plaintiffs cell

        phone by letter dated August 4, 2015.

                 21.    Plaintiff provided the Defendant with Plaintiffs cell phone number(s) along with

        other relevant numbers so Defendant could easily update its records and set its system to do not

        call.

                 22.    Nevertheless, Defendant continued to call Plaintiffs cell phone by using an

        automated dialer device.

                 23.    As a result of the Defendant's actions, Defendant has repeatedly violated the TCPA

        47   uses§ 227(b)(l).
                 24.    The Defendant's violations of the TCPA were willful as the Plaintiff expressly

        removed her consent to call her cell phone, first in writing and then verbally upon answering

        unwanted calls, and the Defendant ignored her.

                 25.    As a result of the Defendant's actions, Plaintiffs have been annoyed,

        inconvenienced, harassed, bothered, upset, angered, harangued and otherwise was caused

        emotional distress.

                                                DEMAND FOR RELIEF


                 Plaintiff demands from the Defendant:

                 (a)    General or actual damages;

                 (b)    $500 per violation of the Telephone Consumer Protection Act as provided for in in

        47 uses§ 227(b)(3)(B);

                 (c)    $1,500 per violation of the TCPA to the extent the violations are found to be willful

        under 47 USCS § 227(b)(3)(C);

                 (d)    Attorney's fees and costs pursuant to the TCPA;



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               (e)       Punitive damages;

               (f)       Such other relief as the Court shall deem just and proper under the attendant

        circumstances.

                     PLAINTIFFS DEMANDS A JURY TRIAL ON ALL ISSUES SO TRIABLE



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                                                     By:         / /(      ../     '-·--




                                                            Counsel/or Plaintiff




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